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 2   KAREN A. ESCOBAR
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 4   Fresno, CA   93721
     Telephone: (559) 497-4000
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 9              IN THE UNITED STATES DISTRICT COURT FOR THE
10                      EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,     ) Case No. 1:05-cr-00204 AWI
                                   )
13                  Plaintiff,     )
                                   ) STIPULATION TO CONTINUE
14             v.                  ) STATUS CONFERENCE AND
                                   ) ORDER
15   IGNACIO CALDERON and          )
     ZEBEDEE WHITE,                )
16                                 )
                    Defendant.     )
17                                 )
     ______________________________)
18
19        IT IS HEREBY STIPULATED by and between Assistant United
20   States Attorney, KAREN A. ESCOBAR, MARK COLEMAN, defense counsel
21   for IGNACIO CALDERON, and MARIO DiSALVO, defense counsel for
22   ZEBEDEE WHITE, that the status conference currently set for July
23   3 be continued to July 24, 2006 at 9:00 a.m.
24   Dated: June 27, 2006                    Respectfully submitted,
25                                           McGREGOR W. SCOTT
                                             United States Attorney
26
27                                     By:      /s/ Karen A. Escobar
                                             KAREN A. ESCOBAR
28                                           Assistant U.S. Attorney
              Case 1:05-cr-00204-AWI Document 180 Filed 06/27/06 Page 2 of 2


 1   Dated: June 27, 2006                         /s/ Mark Coleman
                                               MARK COLEMAN
 2                                             Attorney for
                                               IGNACIO CALDERON
 3
 4
 5   Dated: June 27, 2006                            /s/ Mario DiSalvo
                                                  MARIO DiSALVO
 6                                                Attorney for
                                                  ZEBEDEE WHITE
 7
 8
 9                                        ORDER
10
     IT IS SO ORDERED.
11
     Dated:    June 27, 2006                   /s/ Anthony W. Ishii
12   0m8i78                              UNITED STATES DISTRICT JUDGE
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